Case 9:22-cv-81294-AMC Document 185 Entered on FLSD Docket 11/15/2022 Page 1 of 2




  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA
  WEST PALM BEACH DIVISION
  ------------------------------------------------------- x
  DONALD J. TRUMP,

                                     Plaintiff,

                   - against -                                   SPECIAL MASTER ORDER
                                                                 No. 22-81294-CIV-CANNON
  UNITED STATES OF AMERICA,

                                     Defendant.

  ------------------------------------------------------- x
  RAYMOND J. DEARIE, Special Master

           The undersigned has reviewed the Scanned Materials Log the parties submitted on

  November 12, 2022, as well as the government’s letter of the same date which included an

  updated Filter Materials Log, ECF 176-1. These logs contain certain discrepancies, as detailed

  below.

           First, there does not appear to be any entry in the Scanned Materials Log relating to the

  record bearing Bates numbers SM_MAL-00000011 to SM_MAL-00000012.

           Second, there are three entries as to which (a) the Plaintiff has categorized the record as

  Presidential and (b) the government has categorized the record as personal, but (c) the parties

  have nevertheless indicated that they have no dispute: SM_MAL-00018439 to SM_MAL-

  00018444; SM-MAL-00020243; SM_MAL-00021523 to SM_MAL-00021528.

           Third, there are four entries as to which the government has made dual designations

  under the Presidential Records Act, 44 U.S.C. § 2201, et seq.: SM_MAL-00001541; SM_MAL-

  00004502 to SM_MAL-00004503; SM_MAL-00004789 to SM_MAL-00004790; SM_MAL-

  00018583 to SM_MAL-00018603. The government does not provide any explanation for why it

  believes these documents are simultaneously “Presidential” and “personal” under the PRA. To
Case 9:22-cv-81294-AMC Document 185 Entered on FLSD Docket 11/15/2022 Page 2 of 2




  the extent the government does intend to assert dual designations for a single document, the

  government must clarify which pages it categorizes as “Presidential” and which pages it

  categorizes as “personal” (or advise that the dual designations were made in error).

         Finally, in the updated Filter Materials Log, the government categorizes document C-001

  as a Presidential record but argues in the letter’s text that the same document is a personal record.

  ECF 176-1 at 7.

         The parties are directed to review the Scanned Materials Log and Filter Materials Log

  and to submit revised logs that accurately reflect their positions on each of the documents

  mentioned above by 5:00 p.m. on November 16, 2022. In updating the logs, the parties are also

  directed to review for any additional errors and to correct, in the revised logs, any other issues

  discovered in the course of this review.



  Dated: Brooklyn, New York                             /s/ Raymond J. Dearie
         November 15, 2022                              Raymond J. Dearie
                                                        United States District Judge




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